    Case 1:01-cv-12257-PBS Document 6528-62 Filed 09/22/09 Page 1 of 5




                               Exhibit 61



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
                Case 1:01-cv-12257-PBS Document 6528-62 Filed 09/22/09 Page 2 of 5
Buska, Jeff - December 14, 2005 09:00:00 a.m.




  247:1                    THE UNITED STATES DISTRICT COURT

       2                   FOR THE DISTRICT OF MASSACHUSETTS

       3                                  ---oOo---

       4

       5     In re:    PHARMACEUTICAL,                  MDL DOCKET NO.

       6     INDUSTRY AVERAGE WHOLESALE                 CIVIL ACTION

       7     PRICE LITIGATION                           01CV12257-PBS

       8     __________________________

       9

      10     THIS DOCUMENT RELATES TO:

      11     ALL ACTIONS

      12     __________________________

      13

      14                                  Volume II

      15                        DEPOSITION OF JEFF BUSKA

      16                                  Taken at

      17                              Law Offices of

      18                  Gough, Shanahan, Johnson & Waterman

      19                       33 South Last Chance Gulch

      20                              Helena, Montana

      21                             December 14, 2005

      22                                  9:00 a.m.




September 22, 2009 1:14 am                                                           Page 1
                Case 1:01-cv-12257-PBS Document 6528-62 Filed 09/22/09 Page 3 of 5
Buska, Jeff - December 14, 2005 09:00:00 a.m.




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September 22, 2009 1:14 am                                                           Page 2
                Case 1:01-cv-12257-PBS Document 6528-62 Filed 09/22/09 Page 4 of 5
Buska, Jeff - December 14, 2005 09:00:00 a.m.




  311:1      implemented those, AWP pricing in our payment system,

       2     as to whether it was done before this or -- you know,

       3     so the -- the purpose of this, or whether we were in

       4     the process of considering implementation.      I don't

       5     know the exact time that they were utilized.

       6               Q.   The second and third pages of Exhibit Buska

       7     028 are a survey, Medicaid prescription drug pricing

       8     questions.

       9                    Do you know whether Montana filled out this

      10     survey?

      11              A.    I don't know if we did.

      12              Q.    If Montana did fill out the survey, who at

      13     the state most likely would have worked on it?

      14              A.    It would have been Dorothy Poulsen.   Or if

      15     this was during the time period when she had left the

      16     employment of the state, it would have been probably

      17     her successor.

      18                    And if there was a time period during the

      19     transition of the positions, it's very possible it

      20     didn't get responded to.

      21              Q.    Did there come a point in time Montana

      22     Medicaid stopped using DOJ AWPs?




September 22, 2009 1:17 am                                                           Page 65
                Case 1:01-cv-12257-PBS Document 6528-62 Filed 09/22/09 Page 5 of 5
Buska, Jeff - December 14, 2005 09:00:00 a.m.




  312:1               A.   Yes, I do recall that we did stop using it.

       2              Q.   Do you know roughly when that was?

       3              A.   I don't know exactly when.

       4              Q.   Why did Montana Medicaid stop using those

       5     AWPs?

       6              A.   Because the AW pricing was not being

       7     updated by First Data Bank, and my recollection is

       8     that the drug manufacturers wouldn't respond to their

       9     surveys.

      10              Q.   Do you know whether Montana Medicaid

      11     received information from DOJ that it should not use

      12     the DOJ AWPs for certain drugs?

      13              A.   That it should not use AWP for certain

      14     drugs?    I don't recall anything like that.

      15              Q.   I now want to go back, again, on this topic

      16     3B, the method of calculation of reimbursement to

      17     providers for subject drugs.       And let's take retail

      18     drugs first.

      19                   What are the factors that Montana Medicaid

      20     considers in setting the reimbursement rate?

      21              A.   The factors in setting the reimbursement

      22     rate is -- in establishing the rate, you mean, or the




September 22, 2009 1:17 am                                                           Page 66
